CaSe 2:04-cr-20070-STA Document 74 Filed 04/26/05 Page 1 of 2 PagelD 66

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P|aintl'ff

VS.
CR. NO. 04-20070-5

W|LLlAl\/l NEV|LLES

Defendant.

 

ORDEF{ ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on fora report date on April 25, 2005. At that time, counsel for the
defendant requested a continuance of the May 2, 2005 trial date in order to allow for
disposition of pending motions.

The Court granted the request and reset the trial date to June 6, 2005 with a r_e@r_t
date of Tuesdav, Nlav 31. 2005, at 9:30 a.m., in Courtroom 1, 11th F|oor of the Federal
Building, l\/lemphis, TN.

The period from lVlay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends otjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

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UNITED s`T"DATEISTRrC COUR - WESTERN D's'TRCT oFTENNESSEE

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Honorable J. Breen
US DISTRICT COURT

